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                                             Hon. Wayne R. Andersen
                                             (Ret.)
                                               MEDIATOR        ARBITRATOR

                                               COURT-APPOINTED NEUTRAL (REFEREE/SPECIAL
                                               MASTER)

                                               NEUTRAL EVALUATOR            HEARING OFFICER




 Hon. Wayne R. Andersen (Ret.) joined JAMS in 2010 after serving for nearly 20 years as a U.S. District
 Judge for the Northern District of Illinois and an additional seven years as a Judge in the Circuit Court of
 Cook County. On the bench, Andersen made a reputation as an effective settlement judge, conducting
 thousands of settlement conferences with parties in state and federal court and often withholding entry of
 judgement on jury verdicts while the parties, usually with his assistance, worked out post trial final
 settlements.
 While at JAMS, Judge Andersen has helped parties resolve disputes in a wide array of matters including
 acting as a mediator, arbitrator and discovery master for commercial, class action, employment, health
 care, IP, securities and personal injury matters.
 Believing it is never too late to try to settle, he has coordinated efforts with settlement attorneys at the
 Seventh Circuit to enable parties to settle even while cases are on appeal.
 Counsel praise Judge Andersen for his superb people skills; exceptional legal knowledge; and well
 written, legally sound, and timely rulings.

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 ADR Experience and Qualifications

         Full-time alternative dispute resolution practice since 2010 following an active, settlement-focused
         career as a judge
         Effected a number of historic settlements, including the Shakman litigation, which attempted to
         eliminate illegal patronage practices involving government employees in Chicago and Cook County.
         Fashioned a multi-tiered nationwide settlement of sexual harassment claims involving thousands of
         female employees working for an industry leading global company. He also negotiated payment of
         attorney's fees in this case

 Representative Matters

         Special Master, selected by the parties and the Court, to resolve challenges to the administrator's
         claim awards in then-largest Telephone Consumer Protection Act (TCPA) settlement
         Party-appointed monitor tasked with ensuring pricing compliance on $295 million settlement
         Mediated and settled National Collegiate Athletic Association (NCAA) concussion matter and named
         by the parties as Chair of the Medical Science Committee created by that settlement
         Successfully settled numerous class action claims alleging violation of the Telephone Consumer
         Protection Act (TCPA) for auto-dialing "blast faxing," and SMS/text-based communications with
         consumers
         Settled a putative class action involving violations of the Fair Credit Reporting Act (FCRA)
         Settled matter involving dissolution of a professional practice, including allegations of sexual
         harassment and buy-out from the practice group
         Settled matter for breach of contract involving sales and marketing agreement between a start-up
         and a venture capitalist
         Settled putative nationwide class action involving "non-functional slack-fill" in packaging of
         consumer goods that plaintiffs claimed led consumers to believe packages contained more product
         than they actually did
         Mediated and settled matter involving unpaid earn outs on a business purchase and sale agreement
         Settled putative class matter brought on behalf of a group of subcontractors disputing general
         contractor's right to recoup on re-fueling and transportation surcharges
         Mediated and settled putative class matter related to solicitation of charitable donations
         Mediated and settled putative class action involving improper disposal charges levied by a solid
         waste hauler in three Southern states
         Mediated and settled a series of class cases involving product defects in paints/sealers
         Mediated and settled a series of class cases involving mortgage lending practices under the Fair
         Debt Collection Act (FDCA)
         Mediated and settled numerous shareholder disputes
         Mediated and settled class action related to the marketing and sale of margarine claiming certain
         health benefits
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         Mediated and settled putative class matter involving sale and marketing of an "all natural" sleep aid
         Mediated and settled civil rights action for wrongful death where an inmate who had received
         medical attention in a correctional setting died shortly after release from prison
         Mediated and settled numerous employment matters for gender and racial discrimination, age
         discrimination, sexual harassment, unequal pay and retaliation in both state and federal contexts,
         including FLSA, ADA, Title VII, Title IX, and the Illinois Wage Protection Act amongst others
         Mediated and settled patent infringement claim involving design of an assault rifle
         Mediated and settled trade secrets case involving a process to extract and purify cannabidiol (CBD)
         from industrial hemp
         Mediated and settled Title IX claim where coach had allegedly engaged in inappropriate behavior
         with team assistants and athletes of both sexes
         Mediated and settled matter involving health claims associated with vitamin supplements
         Played a substantial role in settling three sub-classes of shareholders who felt that their rights had
         been violated as a result of the merger of two major banks
         Helped settle and oversaw confirmatory discovery in a $200 million plus settlement of a shareholder
         class action suit
         Presided over the hearings of the joint investigation of the sinking of the Deepwater Horizon (Gulf of
         Mexico oil spill)
         Settled individual injury claims by war protesters who had been physically injured during
         confrontations with police officers trying to control and then arrest several thousand demonstrators
         Resolved at its inception a lawsuit involving "curb cuts" throughout the City of Chicago to enable the
         City to maximize its ability to make walkways accessible to people with disabilities



 Honors, Memberships, and Professional
         Mediated and arbitrated healthcare disputes between insurers, insureds and medical providers.




 Activities
 Completed Virtual ADR training conducted by the JAMS Institute, the training arm of JAMS.


         Recipient, Justice John Paul Stevens Award for commitment to integrity and public service in the
         practice of law, The Chicago Bar Foundation and The Chicago Bar Association, 2010
         Member, Judicial Conference of the United States, 2006-2009
             Chair of the District Judges meeting at the semi-annual meeting of the Judicial Conference,
             2009
                  Member, Judicial Branch Committee, 1996-2005
         Recipient of Award for Public Service, National Highway Traffic Safety Administration
         Member, Board of Directors, Shirley Ryan AbilityLab, formerly the Rehabilitation Institute of Chicago
         (Chairperson of Compensation Committee and Translational Medicine Committee)
         Member (and past president), University of Illinois College of Law Board of Visitors
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         Member, Federal Judges Association and Illinois Judges Association
         Member, Federal Bar Association
         Member, Chicago Bar Association (past member, Board of Managers)



 Background and Education
         Member, Schools & Scholarship Committee, Chicago Chapter, Harvard College




         Judge, U.S. District Court for the Northern District of Illinois, 1991-2010
         Judge, Circuit Court of Cook County, 1984-1991
         Deputy Secretary of State of Illinois, 1981-1984
         Partner, Burditt and Calkins, 1977-1980 (Associate, 1972-1976)
         Administrative Assistant to Henry J. Hyde, Majority Leader of the Illinois House of Representatives,
         1970-1972
         Legislative Intern, University of Illinois Legislative Staff Internship program, 1970-1971
         J.D., University of Illinois College of Law, 1970 (Editor-in-Chief, the Caveat student newspaper)
         B.A., cum laude, Harvard University, 1967, where he was captain of the track team and remains co-
         holder of the 100-yard dash record




 Counsel Comments
     “He gets very involved in helping get parties together to achieve settlement.”


     - Almanac of the Federal Judiciary




     “He is very adept at diffusing uncomfortable situations that may arise. He encourages the
     exchange of ideas.”


     - Almanac of the Federal Judiciary




     “He always does the right thing in a courtroom. Both sides of any matter always feel as if they got a
     fair trial. He has no leanings.”


     - Almanac of the Federal Judiciary


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 Available to Travel




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 2500 N. Military Trail, Suite 200, Boca Raton, FL 33431
 561-393-9733           Contact Us

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 One Boston Place, 201 Washington Street, Suite 3300, Boston, MA 02108
 617-228-0200           Contact Us

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 1925 Century Park East, 14th Floor, The Watt Plaza, Los Angeles, CA 90067
 310-392-3044           Contact Us

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 7160 Rafael Rivera Way, Suite 400, Las Vegas, NV 89113
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 1 Paternoster Lane, St. Paul's, London EC4M7BQ UK
 +44 207 583 9808            Contact Us

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 415-982-5267          Contact Us

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 707-527-5267          Contact Us

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 1255 Treat Blvd., Suite 700, Walnut Creek, CA 94597
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 JAMS Places First in the Daily Business Review "Best of 2015" Survey
 November 18, 2015



 JAMS Neutrals Dominate Chicago Leading Lawyers Survey
 November 11, 2014



 JAMS Places First in the National Law Journal “Best of Chicago” Survey
 October 29, 2012


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 JAMS Panelist Receives Award of Excellence from Coast Guard
 August 28, 2012



 Judge Wayne R. Andersen Honored with 2010 John Paul Stevens Award
 September 13, 2010



 Retired U.S. District Judge Wayne Andersen Joins JAMS Chicago Panel
 August 2, 2010




 EVENTS

 Past Events
 May 08, 2024
 Chicago Networking Reception

 April 1, 2022
 Settlement in the 21st Century

 December 3, 2020
 Mediating Settlements of Complex Cases in a Diverse COVID Climate

 November 11 - 13, 2020
 Improved Negotiation, Mediation & Advocacy Skills

 May 19, 2020
 Cross-Fertilization: Learning From Mediators Who Do Different Stuff Than You Do

 March 2 - 3, 2020
 Advanced Workshop for Improved Negotiation, Mediation and Advocacy Skills: Sophisticated Strategies
 to become a better Advocate and Mediator


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 June 15 - 16, 2017
 ABA: 10th Annual Arbitration Training Institute

 May 12, 2014
 PLI’s Illinois MCLE Marathon 2014

 April 8, 2014
 Challenges Facing the Food and Beverage Industries in Complex Consumer Litigations

 May 8, 2013
 Settlement in the Federal Courts


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